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                          IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEW MEXICO

GREGORIO ARAGON, et al.,

               Plaintiffs,

v.                                                               No. 2:20-cv-00413-KWR-KRS

UNITED CONSTRUCTION, LLC, et al.,

               Defendants.

                     STIPULATED ORDER EXTENDING DEADLINES

       THIS MATTER is before the Court on the Parties’ Joint Motion to Extend Deadlines.

Having reviewed the Motion and record of the case, the Court finds the Motion is well-taken and

should be granted.

       IT IS THEREFORE ORDERED that the following deadlines are extended in this matter:

     1. Plaintiff’s expert disclosure deadline extended to February 2, 2021;

     2. Defendant’s expert disclosure deadline extended to February 23, 2021;

     3. Deadline for supplementing discovery/disclosures extended to March 12, 2021;

     4. Termination of discovery deadline extended to April 3, 2021;

     5. Motions related to discovery extended to April 26, 2021;

     6. All other motion deadlines extended to May 30, 2021;

     7. Pretrial order:       Plaintiff to Defendant by: June 30, 2021;

                              Defendant to Court by: July 14, 2021




                                                    __________________________________
                                                    KEVIN R. SWEAZEA
                                                    UNITED STATES MAGISTRATE JUDGE
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